            Case 4:98-cr-40124-JPG                    Document 352 Filed 10/17/08                     Page 1 of 3          Page ID
~AO 245D                                                        #358
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                           Southern District of Illinois

        UNITED STATES OF AMERICA                                          Judgment in a Criminal Case,.";, O~).
                   v.                                                     (For Revocation of Probation or SuperV{sedRW~ase)
                                                                                                                     ,- "'"~ ~
                                                                                                                               I ~.~
                                                                                                                                 .,;
                 DAYNA S. GARNER                                                                                     ;     1:.;.   <'00&
                                                                          Case No. 4:98CR40124-04
                                                                          USM No. 04610-025
                                                                           William A. Shirley
                                                                                                   Defendant's Attorney
THE DEFENDANT:
r;f admitted guilt to violation of condition(s)          as alleged in petition            of the term of supervision.
o was found in violation of condition(s)                _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                             Violation Ended
Statutory                        The defendant committed the offense of Unlawful Use of a                      07/18/2008



Statutory                        The defendant failed to make monthly payments as ordered                      07/31/2008



       The defendant is sentenced as provided in pages 2 through               3      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0156                        09/18/2008

Defendant's Year of Birth:           1978

City and State of Defendant's Residence:
Marion,IL
                                                                           J. Phil Gi art                                District Judge



                                                                                                           Date
          Case 4:98-cr-40124-JPG                    Document 352 Filed 10/17/08        Page 2 of 3        Page ID
AO 2450                                                       #359
           (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet IA

                                                                                         Judgment-Page   _=.2_ of     3
DEFENDANT:, DAYNA S. GARNER
CASE NUMBER: 4:98CR40124-04

                                                      ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number               Nature of Violation                                                            Concluded
Standard # 9                   The defendant associated with a person engaged in criminal activity            05/07/2008



Special                        The defendant failed to participate in substance abuse counseling              07/24/2008
            Case 4:98-cr-40124-JPG                      Document 352 Filed 10/17/08               Page 3 of 3          Page ID
 AO 245D                                                          #360
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                 Judgment - Page   _...;3,,-_ of   3
 DEFENDANT: DAYNAS.GARNER
 CASE NUMBER: 4:98CR40124-04

                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
26 months




    o The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    o      The defendant shall surrender to the United States Marshal for this district:
           o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
           o     as notified by the United States Marshal.

    o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before 2 p.rn. on
           o     as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                             By      --:==:":"":":==:-:::::-:-::~~= - - - -
                                                                                           DEPUTY UNITED STATES MARSHAL
